        Case 3:13-cv-00302-RNC Document 10 Filed 04/11/13 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                         :
Cindy Grant,                             :
                                         :
                   Plaintiff,            : Civil Action No.: 3:13-cv-00302-RNC
      v.                                 :
                                         :
Portfolio Recovery Associates, L.L.C.;   :
and DOES 1-10, inclusive,                :
                                         :
                   Defendants.           :
                                         :


           NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                   DISMISSAL OF ACTION WITH PREJUDICE
                         PURSUANT TO RULE 41(a)


       Cindy Grant (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed.
R. Civ. P. 41(a)(1)(A)(i).


Dated: April 11, 2013

                                          Respectfully submitted,

                                          PLAINTIFF, Cindy Grant

                                          /s/ Sergei Lemberg

                                          Sergei Lemberg, Esq.
                                          LEMBERG & ASSOCIATES L.L.C.
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       Case 3:13-cv-00302-RNC Document 10 Filed 04/11/13 Page 2 of 2



                           CERTIFICATE OF SERVICE

      I hereby certify that on April 11, 2013, a true and correct copy of the
foregoing Notice of Withdrawal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                     By_/s/ Sergei Lemberg_________

                                          Sergei Lemberg
